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Attorneysfor Plaintzjs
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

John J. Hurry, et al., Case No. 2:14-cv-02490-PHX-ROS

Plat`ntifjfs, MOTION FOR LEAVE TO
v. WITHDRAW
Financial Industry Regulatory Authority Assigned to the Honorable Roslyn O. Silver
Incorporated, et al.,

Defendants.

 

Pursuant to LRCiv 83.3(b)(2) and Ariz.R.S.Ct. 42, Rule of Professional Conduct (“ER”)
l.l6(a)(l), the law firm of Mandel Young, plc (“MY”) and undersigned counsel (collectively,
“Movants”) hereby move the Court for an order permitting l\/IY and all of its attorney personnel to
withdraw as counsel of record in this action both for all remaining plaintiffs (collectively, the
“Current Plaintiffs”)l and for all former plaintiffs that, despite the dismissal of their claims, will
have the right to file a notice of appeal at the appropriate time from anyjudgments, orders, decrees,

and rulings in this action (collectively, the “Former Plaintiffs”).2

 

l The Current Plaintiffs are: John J. Hurry' Justine I-Iurry; BRICFM LLC; FLJH, LLC;

Hurry Famll Revocable Trust; Investment §ervlces Ca ital, LLC; investment Servlces

Co oration; nvestmentServices Holdin sCor§.;SCAINTL LC;SCAP 4,LLC;S(_3AP5 LLC;

}§C P 6,1§.]{,((§; SCAP 7, LLC; SCAP 9, LC; CAP llI, LLC; and Scottsdale Capltal Advlsors
artners. .

2 The Former Plaintiffs are: Investment Services Partners, LLC; SCAP l, LLC; SCAP II,
LLC; SCAP 8, LLC; SCAP 10, LLC; CJ3, LLC' Association of Securities Dealers, LLC;
NEWCONMGT, L_LC; ISC, LLC; ISHC, LLC; NE\VMGT, LLC; ASD Holding Company, LLC;
and Hurry Foundatlon.

 

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Movants respectfully submit that, under ER l.l6(a)(l), MY and its attorney personnel are
ethically required to terminate their representation of all Current Plaintiffs and Former Plaintiffs
(collectively, “Plaintiffs") and to withdraw from the action as Plainti'ffs’ counsel of record because
continued representation of the Plaintiffs would violate the Rules of Professional Conduct. This
determination has been reached in consultation with attorney Lynda C. Shely, MY’s outside ethics
counsel. Movants are ethically prohibited from disclosing anything further per Movants’
obligations under ER l.6(a).

The action remains in the discovery stage and has not been set for trial. Plaintiffs have been
notified in writing of the status of the case, including the dates and times of any court hearings,
pending compliance with any existing court orders, and the possibility of sanctions Plaintiffs John
and Justine Hurry’s names, last known residence, and last known telephone number are as follows:
1466 Pittman Terrace, Glenbrook, NV 89413, (480) 717-5044 (Tel.). The Plaintiff entities’ last

known addresses and telephone numbers are as follows:

 

Investment Services Corporation 7170 E. McDonald Drive, Ste. #4
Scottsdale, AZ 85253

(480) 717-5044

Hurry Family Revocable Trust C/o Investment Services Corporation
7170 E. McDonald Drive, Ste. #4
Scottsdale, AZ 85253

(480) 717-5044

Scottsdale Capital Advisors Partners, c/o Investment Services Corporation
LLC 717() E. McDonald Drive, Ste. #4
Scottsdale, AZ 85253

(480) 717-5044

SCAP III, LLC c/o Investment Services Corporation
7170 E. McDonald Drive, Ste. #4
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SCAP 4, LLC c/o Investment Services Corporation
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Scottsdale, AZ 85253

(480) 717-5044

SCAP 5, LLC c/o Investment Services Corporation
7170 E. McDonald Drive, Ste. #4
Scottsdale, AZ 85253

 

 

 

 

 

 

 

 

 

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(480) 717-5044

 

SCAP 6, LLC

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SCAP 7, LLC

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SCAP 9, LLC

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BRICFM, LLC

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Investment Services Capital, LLC

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Investment Services Holdings Corp.

c/o Investment Services Corporation
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sCAINTL, LLC

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FLJH, LLC

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Investment Services Partners, LLC

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SCAP 1, LLC

 

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SCAP II, LLC

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SCAP 8, LLC

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SCAP 10, LLC

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CJ3, LLC

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Association of Securities Dealers, LLC

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NEWCONMGT, LLC

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ISC, LLC

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ISHC, LLC

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NEWMGT, LLC

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ASD Holding Company, LLC

 

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Hurry Foundation

 

 

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(480) 717-5044

 

 

For all the foregoing reasons, an order granting MY and all of its attorney personnel leave to

withdraw as counsel of record for all Plaintiffs is necessary and warranted An LRCiv 83.3(b)(2)-

compliant Certiiicate of Counsel accompanies this Motion, together with a Proposed Form of

Order for this Court’s consideration

REsPECTFULLY sUBMnTED this 29th day orAuguSr, 2016.

By:

MANDEL YOUNG PLC

/s/ Tavlor C. Young

Robert A. Mandel

Taylor C. Young

Peter A. Silverman

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CERTlFICATE OF SERVICE
The undersigned certifies that the original of the foregoing was transmitted this 29th day of

August, 2016 to the Offrce of the Clerk of the U.S. District Court using the CM/ECF Systern, which will
send notification of such filing and transmittal of a Notice of Electronic Filing to all CM!ECF registrants
for this case.

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/s/ Taylor C. Young
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